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                                          UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF MINNESOTA
                                                    St. Paul DIVISION

       In re: MERRICK'S OF MINNESOTA, LLC                    §    Case No. 18-32344
                                                             §
                                                             §
                                                             §
                    Debtor(s)


                                CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                                REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                                ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)




              Paul W. Bucher, chapter 7 trustee, submits this Final Account, Certification that the Estate has been
      Fully Administered and Application to be Discharged.

               1) All funds on hand have been distributed in accordance with the Trustee’s Final Report and, if
      applicable, any order of the Court modifying the Final Report. The case is fully administered and all assets and
      funds which have come under the trustee’s control in this case have been properly accounted for as provided
      by law. The trustee hereby requests to be discharged from further duties as a trustee.

               2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims discharged
      without payment, and expenses of administration is provided below:



      Assets Abandoned:    $625,001.00                            Assets Exempt: N/A
      (without deducting any secured claims)

      Total Distributions to Claimants:   $28,057.05              Claims Discharged
                                                                  Without Payment: N/A


      Total Expenses of Administration:    $7,530.09




               3) Total gross receipts of $35,587.14 (see Exhibit 1), minus funds paid to the debtor and third parties
      of $0.00 (see Exhibit 2), yielded net receipts of $35,587.14 from the liquidation of the property of the estate,
      which was distributed as follows:




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                                               CLAIMS               CLAIMS                CLAIMS                CLAIMS
                                             SCHEDULED             ASSERTED              ALLOWED                 PAID


   SECURED CLAIMS (from
   Exhibit 3)                                          $1.00           $13,673.00           $13,673.00                 $0.00
   PRIORITY CLAIMS:
   CHAPTER 7 ADMIN. FEES AND
   CHARGES (from Exhibit 4)
                                                       $0.00            $7,530.09            $7,530.09             $7,530.09


   PRIOR CHAPTER ADMIN.
   FEES AND CHARGES (from
   Exhibit 5)                                          $0.00                $0.00                $0.00                 $0.00

   PRIORITY UNSECURED CLAIMS
   (from Exhibit 6)                                    $0.00              $460.00              $460.00              $460.00

   GENERAL UNSECURED CLAIMS
   (from Exhibit 7)                            $1,450,254.76        $1,168,814.37        $1,168,814.37           $27,597.05


   TOTAL DISBURSEMENTS                         $1,450,255.76        $1,190,477.46        $1,190,477.46           $35,587.14




                 4) This case was originally filed under chapter 7 on 07/24/2018. The case was pending for 34
      months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to the United States
      Trustee.

               6) An individual estate property record and report showing the final accounting of the assets of the estate is
      attached as Exhibit 8. The cash receipts and disbursements records for each estate bank account, showing the final
      accounting of the receipts and disbursements of estate funds is attached as Exhibit 9.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
      and correct.




      Dated:        06/11/2021                        By: /s/ Paul Bucher
                                                                            Trustee




      STATEMENT This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork
      Reduction Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                                    EXHIBITS TO
                                                                  FINAL ACCOUNT

EXHIBIT 1 – GROSS RECEIPTS

                                                                                              UNIFORM                               $ AMOUNT
     DESCRIPTION
                                                                                             TRAN. CODE1                            RECEIVED

 A/R 90 days old or less. Face amount = $20,000.00. Doubtful/Uncollectible                      1121-000                               $11,037.14
 accounts = $0.00.
 VARIOUS TOOLS AND EQUIPMENT (ADDITIONAL DETAIL TO BE                                           1129-000                               $24,550.00
 PROVIDED TO TRUSTEE).

                             TOTAL GROSS RECEIPTS                                                                                      $35,587.14

 1
  The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.




EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                                    UNIFORM                      $ AMOUNT
                 PAYEE                                      DESCRIPTION
                                                                                                   TRAN. CODE                       PAID

                                                                          None




EXHIBIT 3 - SECURED CLAIMS



                                             UNIFORM              CLAIMS
     Claim                                                                                  CLAIMS                  CLAIMS              CLAIMS
                 CLAIMANT                     TRAN.             SCHEDULED
      NO.                                                                                  ASSERTED                ALLOWED               PAID
                                              CODE            (from Form 6D)


      26S       DLL FINANCIAL                 4210-000                         NA            $13,673.00             $13,673.00              $0.00
                SOLUTIONS
      N/F       DLL FINANCIAL                 4210-000                      $1.00                      NA                  NA                  NA
                SOLUTIONS

                   TOTAL SECURED                                            $1.00            $13,673.00             $13,673.00              $0.00




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EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                      UNIFORM       CLAIMS                CLAIMS              CLAIMS              CLAIMS
   PAYEE                               TRAN.      SCHEDULED              ASSERTED            ALLOWED               PAID
                                       CODE

 Trustee, Fees - DUNLAP &             2100-000                 NA             $4,308.71          $4,308.71        $4,308.71
 SEEGER, P.A.
 Trustee, Expenses - DUNLAP &         2200-000                 NA              $463.44            $463.44             $463.44
 SEEGER, P.A.
 Auctioneer Fees - Tony               3610-000                 NA             $1,910.00          $1,910.00        $1,910.00
 Montgomery Realty & Auction Co
 Auctioneer Expenses - Tony           3620-000                 NA              $600.00            $600.00             $600.00
 Montgomery Realty & Auction Co
 Bond Payments - BOND                 2300-000                 NA               $43.58             $43.58              $43.58

 Banking and Technology Service       2600-000                 NA              $186.10            $186.10             $186.10
 Fee - Metropolitan Commercial
 Bank
 Banking and Technology Service       2600-000                 NA               $18.26             $18.26              $18.26
 Fee - Rabobank, N.A.
 TOTAL CHAPTER 7 ADMIN. FEES
                                                               NA             $7,530.09          $7,530.09        $7,530.09
        AND CHARGES




EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                             UNIFORM           CLAIMS               CLAIMS              CLAIMS               CLAIMS
           PAYEE
                            TRAN. CODE       SCHEDULED             ASSERTED            ALLOWED                PAID

                                                            None




 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS


                                                                         CLAIMS
                                      UNIFORM        CLAIMS
                                                                        ASSERTED             CLAIMS               CLAIMS
 CLAIM NO.          CLAIMANT           TRAN.      SCHEDULED
                                                                     (from Proofs of        ALLOWED                PAID
                                       CODE      (from Form 6E)
                                                                          Claim)

     4-2      IRS                     5800-000                 NA              $460.00            $460.00             $460.00


     N/F      IRS                     5600-000               $0.00                 NA                 NA                  NA


     N/F      MINNESOTA DEPT          5600-000               $0.00                 NA                 NA                  NA
              OF REV

            TOTAL PRIORITY
           UNSECURED CLAIMS                                  $0.00             $460.00            $460.00             $460.00


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 EXHIBIT 7 – GENERAL UNSECURED CLAIMS


                                                                        CLAIMS
                                      UNIFORM        CLAIMS
                                                                       ASSERTED         CLAIMS               CLAIMS
 CLAIM NO.         CLAIMANT            TRAN.      SCHEDULED
                                                                    (from Proofs of    ALLOWED                PAID
                                       CODE      (from Form 6F)
                                                                         Claim)

              U.S. BANKRUPTCY         7100-001                 NA            $280.83         $280.83             $280.83
              COURT

     1        NALCO CO                7100-000        $19,809.05          $19,809.05       $19,809.05            $632.75


     2-2      Chem/Serv Inc           7100-000        $24,424.06          $24,424.06       $24,424.06            $780.16


     3        U.S. BANKRUPTCY         7100-001         $4,942.82           $4,942.82        $4,942.82            $157.89
              COURT -
              Ecolab Inc. Zoltan
              Varga

     5        J & W Instruments Inc   7100-000           $830.00             $830.00         $830.00              $26.51


     6        EZ Rental & Party       7100-000           $280.48             $280.47         $280.47               $8.96
              Service LLC

     7        BECKERS TRUCKING        7100-000        $11,670.00          $11,670.00       $11,670.00            $372.77
              INC

     8        Brewster Cheese         7100-000       $129,367.60         $129,367.60   $129,367.60           $4,132.35
              Company c/o Robert B.
              Preston, III, Esq.

     9        KORTH TRANSFER,         7100-000        $29,278.28          $29,278.28       $29,278.28            $935.23
              INC.

     10       ULINE                   7100-000           $535.23           $3,648.37        $3,648.37            $116.54


     11       ELECTRIC MOTOR /        7100-000         $2,059.42           $2,545.19        $2,545.19             $81.30
              BEARING SERVICE
              INC.

     12       LARSON                  7100-000         $8,755.40          $10,603.02       $10,603.02            $338.69
              CONTRACTING
              CENTRAL

     13       HUBBARD FEEDS,          7100-000        $25,528.33           $5,307.55        $5,307.55            $169.54
              INC.

     14       JIM & DUDES PLG &       7100-000         $2,244.30           $2,244.30        $2,244.30             $71.69
              HTG, INC.

     15       Serval USA, Inc.        7100-000        $35,096.00          $35,096.00       $35,096.00        $1,121.06



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     16      PACKERLAND WHEY         7100-000       $79,027.53        $80,005.97         $80,005.97        $2,555.60
             PRODUCTS INC

     17      BIG OX ENERGY-          7100-000        $7,652.60         $8,791.61          $8,791.61              $0.00
             RICEVILLE LLC

     18      Nova Consulting         7100-000        $3,326.53         $1,751.53          $1,751.53             $55.95
             Group, Inc.

     19      LITHO PRINTING &        7100-000         $875.02           $875.02            $875.02              $27.95
             GRAPHICS

     20      Qwest Corporation dba   7100-000         $165.10           $295.82            $295.82               $9.45
             CenturyLink QC

     21      CREDIT BUREAU OF        7100-000         $451.56          $2,157.54          $2,157.54             $68.92
             ALBERT LEA

     22      CREDIT BUREAU OF        7100-000        $2,157.54         $2,157.54          $2,157.54             $68.92
             ALBERT LEA

     23      MINNESOTA ENERGY        7100-000       $18,380.90        $18,012.84         $18,012.84            $575.38
             RESOURCES



     24      DAIRY DIRECTIONS        7100-000      $249,997.64       $248,850.28     $248,850.28           $7,948.94


     25      MAPLEVIEW AGRI,         7100-000       $34,905.00        $34,905.00         $34,905.00        $1,114.96
             LTD

    26U      DLL FINANCIAL           7100-000        $1,906.76         $6,756.55          $6,756.55            $215.82
             SOLUTIONS

     27      TOFCO AG                7100-000       $79,299.12       $132,670.49     $132,670.49           $4,237.85
             SERVICES, INC

     28      PALLETON PALLETS        7100-000        $2,542.88         $2,542.88          $2,542.88             $81.23


     29      Harcros Chemicals Inc   7100-000        $5,427.48         $5,427.48          $5,427.48            $173.37


     30      J&A FREIGHT             7100-000       $26,783.65        $33,258.68         $33,258.68        $1,062.37
             SYSTEMS INC

     31      TIMS SPOTTING           7100-000        $2,030.00         $2,062.85          $2,062.85             $65.89
             SERVICE, INC.

     32      International           7100-000                NA        $3,387.00          $3,387.00            $108.18
             Procurement Services,
             Inc.

     33      DF Ingredients, Inc.    7200-000                NA       $66,222.27         $66,222.27              $0.00


     34      North Central           7200-000                NA      $238,355.48     $238,355.48                 $0.00
             Companies, Inc.

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    N/F      BOBVALLIN             7100-000        $2,799.00              NA             NA            NA


    N/F      BOMGAARSSUPPLY        7100-000             $11.84            NA             NA            NA


    N/F      BOWMANS               7100-000        $2,298.67              NA             NA            NA
             ELECTRIC

    N/F      C.H. ROBINSON         7100-000         $893.49               NA             NA            NA
             COMPANY

    N/F      CHARTER               7100-000         $334.35               NA             NA            NA
             COMMUNICATIONS

    N/F      CINTAS CORP           7100-000         $339.07               NA             NA            NA


    N/F      CINTAS FIRST AID &    7100-000         $207.30               NA             NA            NA
             SAFETY

    N/F      CLOUDBAKERS, LLC      7100-000         $300.00               NA             NA            NA


    N/F      COMMERCIAL            7100-000        $4,447.50              NA             NA            NA
             PACKAGING

    N/F      CONSOLIDATED          7100-000         $521.00               NA             NA            NA
             CONTAINER CO

    N/F      COREY S TILKENS       7100-000              $1.00            NA             NA            NA


    N/F      DALE SACK             7100-000        $2,096.06              NA             NA            NA


    N/F      DEPARTMENT OF         7100-000        $3,800.00              NA             NA            NA
             LABOR AND
             INDUSTRY

    N/F      EXPRESS SERVICES,     7100-000        $4,764.79              NA             NA            NA
             INC.

    N/F      FASTENAL CO           7100-000        $1,956.19              NA             NA            NA


    N/F      FERMENTED             7100-000       $75,323.29              NA             NA            NA
             NUTRITION CORP

    N/F      FLEX COMM             7100-000             $89.79            NA             NA            NA
             SECURITY

    N/F      FOOD INGREDIENTS      7100-000       $16,248.85              NA             NA            NA


    N/F      FOUNTAIN              7100-000       $12,450.80              NA             NA            NA
             REFRIGERATION




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    N/F      FOUR SEASONS          7100-000         $500.00               NA             NA            NA
             ATTN: DAVID
             NELSON

    N/F      FREEBORN CTY          7100-000       $92,330.00              NA             NA            NA
             AUDITOR/TREASURE
             R

    N/F      G&K SERVICES          7100-000         $576.81               NA             NA            NA


    N/F      HEDING TRUCK          7100-000        $1,290.00              NA             NA            NA
             SERVICE

    N/F      J&R LIVESTOCK         7100-000       $75,000.00              NA             NA            NA
             CONSULTANTS

    N/F      J.M. HUBER CORP       7100-000        $8,643.00              NA             NA            NA


    N/F      K&K FABRICATION       7100-000              $0.00            NA             NA            NA


    N/F      KAMAN INDUSTRIAL      7100-000         $881.37               NA             NA            NA
             TECHNOLOGIES

    N/F      MAYO CLINIC           7100-000         $120.00               NA             NA            NA
             HEALTH SYSTEM

    N/F      MED COMPASS           7100-000             $40.00            NA             NA            NA


    N/F      MINNESOTA SUPPLY      7100-000        $1,296.34              NA             NA            NA
             CO

    N/F      NELSON JAMESON        7100-000        $1,014.29              NA             NA            NA


    N/F      NORTH CENTRAL CO      7100-000      $175,167.80              NA             NA            NA


    N/F      PLUNKETTS PEST        7100-000        $5,026.02              NA             NA            NA
             CONTROL

    N/F      REINHART,             7100-000        $2,344.74              NA             NA            NA
             BOERNER, VAN
             DEUR

    N/F      SILVERMAN             7100-000      $135,123.12              NA             NA            NA
             CONSULTING

    N/F      SOUTHERN LOCK &       7100-000        $1,315.25              NA             NA            NA
             GLASS

    N/F      TEAMSTERS LOCAL       7100-000         $222.00               NA             NA            NA
             160

    N/F      THE CITY OF ALBERT    7100-000        $2,946.90              NA             NA            NA
             LEA

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    N/F      THE HARTFORD          7100-000              $0.00              NA              NA               NA


    N/F      THE HOME DEPOT        7100-000          $149.17                NA              NA               NA


    N/F      UPS                   7100-000             $55.79              NA              NA               NA


    N/F      WASTE                 7100-000        $5,345.50                NA              NA               NA
             MANAGEMENT OF
             SOUTHERN MN

    N/F      WATER SYSTEMS         7100-000        $1,058.39                NA              NA               NA
             COMPANY

    N/F      YOUR TOWN             7100-000        $1,175.00                NA              NA               NA
             TRANSPORTATION

            TOTAL GENERAL
           UNSECURED CLAIMS                     $1,450,254.76     $1,168,814.37   $1,168,814.37       $27,597.05




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                                                               Form 1
                                                                                                                                                          Exhibit 8
                                           Individual Estate Property Record and Report                                                                   Page: 1

                                                            Asset Cases
Case No.:    18-32344                                                                         Trustee Name:      (430140) Paul W. Bucher
Case Name:         MERRICK'S OF MINNESOTA, LLC                                                Date Filed (f) or Converted (c): 07/24/2018 (f)
                                                                                              § 341(a) Meeting Date:       08/22/2018
For Period Ending:         06/11/2021                                                         Claims Bar Date:      11/19/2018

                                      1                                 2                    3                      4                    5                     6

                           Asset Description                         Petition/       Estimated Net Value     Property Formally     Sale/Funds             Asset Fully
                (Scheduled And Unscheduled (u) Property)           Unscheduled      (Value Determined By        Abandoned        Received by the       Administered (FA)/
                                                                      Values               Trustee,             OA=§554(a)           Estate             Gross Value of
                                                                                   Less Liens, Exemptions,       abandon.                              Remaining Assets
  Ref. #                                                                              and Other Costs)

    1*      CHECKING Account at FIRST                                  Unknown                        0.00                                    0.00                          FA
            BUSINESS BANK, xxxxxx8600 (See
            Footnote)

    2*      A/R 90 days old or less. Face amount =                    20,000.00                  20,000.00                              11,037.14                           FA
            $20,000.00. Doubtful/Uncollectible
            accounts = $0.00.
            Non-exempt cash turnover (See Footnote)

    3       Finished goods: INVENTORY HELD FOR                       255,000.00                       0.00                                    0.00                          FA
            SALE, Net Book Value: $0.00, Valuation
            Method: Liquidation

    4       VARIOUS OFFICE FURNITURE.                                   2,000.00                      0.00                                    0.00                          FA

    5*      FORK LIFT (LEASED).                                             1.00                      0.00         OA                         0.00                          FA
            Leased; Payoff amount to end lease and own asset
            was $20,543.06; actual value of asset was $8,000.00.
            Abandonment filed [ecf doc 20]. (See Footnote)

    6*      VARIOUS TOOLS AND EQUIPMENT                              150,000.00                  30,000.00                              24,550.00                           FA
            (ADDITIONAL DETAIL TO BE
            PROVIDED TO TRUSTEE).
            Non-exempt property, multiple sales, amounts total
            =$24,550 (See Footnote)

    7*      REAL PROPERTY COMMONLY                                   368,000.00                       0.00         OA                         0.00                          FA
            KNOWN AS: 620 ADAMS AVENUE AND
            601 MAIN STREET WEST, ALBERT
            LEA, MN 56007, AND LEGALLY
            DESCRIBED AS: SEE ATTACHED
            EXHIBIT A, FREEBORN COUNTY,
            MINNESOTA, FEE SIMPLE
            Non-exempt real property, Abandoned (See Footnote)


    7       Assets Totals (Excluding unknown values)                $795,001.00               $50,000.00                             $35,587.14                       $0.00


         RE PROP# 1            Non-exempt cash turnover

         RE PROP# 2            Non-exempt cash turnover

         RE PROP# 5            Leased; Payoff amount to end lease and own asset was $20,543.06; actual value of asset was $8,000.00. Abandonment
                               filed [ecf doc 20].
         RE PROP# 6            Non-exempt property, multiple sales, amounts total =$24,550

         RE PROP# 7            Non-exempt real property, Abandoned




 Major Activities Affecting Case Closing:




 Initial Projected Date Of Final Report (TFR): 12/31/2019                          Current Projected Date Of Final Report (TFR):             07/29/2020 (Actual)




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                                                 Cash Receipts And Disbursements Record
Case No.:              18-32344                                               Trustee Name:                       Paul W. Bucher (430140)
Case Name:             MERRICK'S OF MINNESOTA, LLC                            Bank Name:                          Mechanics Bank
Taxpayer ID #:         **-***5512                                             Account #:                          ******3100 Checking
For Period Ending:     06/11/2021                                             Blanket Bond (per case limit):      $28,878,000.00
                                                                              Separate Bond (if applicable):      N/A

    1            2                      3                                            4                                  5                       6                        7

  Trans.    Check or        Paid To / Received From             Description of Transaction            Uniform       Deposit               Disbursement         Account Balance
   Date      Ref. #                                                                                  Tran. Code       $                         $

 09/24/18     {2}      Merricks of Minnesota LLC            Accounts receivable.                     1121-000           11,037.14                                            11,037.14
 09/28/18              Rabobank, N.A.                       Bank and Technology Services             2600-000                                        5.00                    11,032.14
                                                            Fees
 10/23/18     {6}                                           POCONO PROPANE TAN                       1129-000           15,000.00                                            26,032.14
                                                            20181023E3QP021C00 0853
 10/31/18              Rabobank, N.A.                       Bank and Technology Services             2600-000                                       13.26                    26,018.88
                                                            Fees
 01/24/19              TMRA                                 Auction proceeds: forklifts                                     7,040.00                                         33,058.88
                       Tony Montgomery Realty &             Commission                               3610-000
                       Auction Co
                                                                                     -$1,910.00
                       Tony Montgomery Realty &             pick up fee                              3620-000
                       Auction Co
                                                                                          -$600.00
              {6}      TMRA                                 Sale of 3 Forklifts                      1129-000
                                                                                      $9,550.00
 06/03/19     101      International Sureties Ltd.          Bond# 016018054                          2300-000                                       30.79                    33,028.09
 09/11/19              Transfer Debit to Metropolitan       Transition Debit to Metropolitan         9999-000                                   33,028.09                         0.00
                       Commercial Bank acct ******7604      Commercial Bank acct
                                                            3910087604

                                            COLUMN TOTALS                                                                33,077.14               33,077.14                       $0.00
                                                     Less: Bank Transfers/CDs                                                   0.00             33,028.09
                                            Subtotal                                                                     33,077.14                   49.05
                                                     Less: Payments to Debtors                                                                        0.00

                                            NET Receipts / Disbursements                                                $33,077.14                  $49.05




{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                         ! - transaction has not been cleared
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                                                                                                                                                         Page: 2
                                                  Cash Receipts And Disbursements Record
Case No.:              18-32344                                          Trustee Name:                         Paul W. Bucher (430140)
Case Name:             MERRICK'S OF MINNESOTA, LLC                       Bank Name:                            Metropolitan Commercial Bank
Taxpayer ID #:         **-***5512                                        Account #:                            ******7604 Checking Account
For Period Ending:     06/11/2021                                        Blanket Bond (per case limit):        $28,878,000.00
                                                                         Separate Bond (if applicable):        N/A

    1            2                        3                                      4                                   5                    6                          7

  Trans.    Check or         Paid To / Received From         Description of Transaction          Uniform         Deposit            Disbursement           Account Balance
   Date      Ref. #                                                                             Tran. Code         $                      $

 09/11/19              Transfer Credit from Rabobank,    Transition Credit from Rabobank,        9999-000            33,028.09                                           33,028.09
                       N.A. acct ******3100              N.A. acct 5023253100
 03/31/20              Metropolitan Commercial Bank      Bank and Technology Services            2600-000                                       26.39                    33,001.70
                                                         Fees
 04/30/20              Metropolitan Commercial Bank      Bank and Technology Services            2600-000                                       52.74                    32,948.96
                                                         Fees
 05/29/20              Metropolitan Commercial Bank      Bank and Technology Services            2600-000                                       50.90                    32,898.06
                                                         Fees
 06/03/20    1000      International Sureties Ltd.       Bond# 016018054                         2300-000                                       12.79                    32,885.27
 06/30/20              Metropolitan Commercial Bank      Bank and Technology Services            2600-000                                       56.07                    32,829.20
                                                         Fees
 09/23/20    1001      DUNLAP & SEEGER, P.A.             Combined trustee compensation &                                                      4,772.15                   28,057.05
                                                         expense dividend payments.
                       DUNLAP & SEEGER, P.A.             Claims Distribution - Wed, 07-29-       2100-000
                                                         2020
                                                                                  $4,308.71
                       DUNLAP & SEEGER, P.A.             Claims Distribution - Wed, 07-29-       2200-000
                                                         2020
                                                                                     $463.44
 09/23/20    1002      IRS                               18-32344 MERRICK'S OF                   5800-000                                      460.00                    27,597.05
                                                         MINNESOTA, LLC 4-2
 09/23/20    1003      NALCO CO                          18-32344 MERRICK'S OF                   7100-000                                      632.75                    26,964.30
                                                         MINNESOTA, LLC 1
 09/23/20    1004      Chem/Serv Inc                     18-32344 MERRICK'S OF                   7100-000                                      780.16                    26,184.14
                                                         MINNESOTA, LLC 2-2
 09/23/20    1005      Ecolab Inc. Zoltan Varga          18-32344 MERRICK'S OF                   7100-000                                      157.89                    26,026.25
                                                         MINNESOTA, LLC 3
                                                         Stopped on 05/12/2021
 09/23/20    1006      J & W Instruments Inc             18-32344 MERRICK'S OF                   7100-000                                       26.51                    25,999.74
                                                         MINNESOTA, LLC 5
 09/23/20    1007      EZ Rental & Party Service LLC     18-32344 MERRICK'S OF                   7100-000                                         8.96                   25,990.78
                                                         MINNESOTA, LLC 6
 09/23/20    1008      BECKERS TRUCKING INC              18-32344 MERRICK'S OF                   7100-000                                      372.77                    25,618.01
                                                         MINNESOTA, LLC 7
 09/23/20    1009      Brewster Cheese Company c/o       18-32344 MERRICK'S OF                   7100-000                                     4,132.35                   21,485.66
                       Robert B. Preston, III, Esq.      MINNESOTA, LLC 8
 09/23/20    1010      KORTH TRANSFER, INC.              18-32344 MERRICK'S OF                   7100-000                                      935.23                    20,550.43
                                                         MINNESOTA, LLC 9
 09/23/20    1011      ULINE                             18-32344 MERRICK'S OF                   7100-000                                      116.54                    20,433.89
                                                         MINNESOTA, LLC 10
 09/23/20    1012      ELECTRIC MOTOR / BEARING          18-32344 MERRICK'S OF                   7100-000                                       81.30                    20,352.59
                       SERVICE INC.                      MINNESOTA, LLC 11
 09/23/20    1013      LARSON CONTRACTING                18-32344 MERRICK'S OF                   7100-000                                      338.69                    20,013.90
                       CENTRAL                           MINNESOTA, LLC 12
 09/23/20    1014      HUBBARD FEEDS, INC.               18-32344 MERRICK'S OF                   7100-000                                      169.54                    19,844.36
                                                         MINNESOTA, LLC 13
 09/23/20    1015      JIM & DUDES PLG & HTG, INC.       18-32344 MERRICK'S OF                   7100-000                                       71.69                    19,772.67
                                                         MINNESOTA, LLC 14
 09/23/20    1016      Serval USA, Inc.                  18-32344 MERRICK'S OF                   7100-000                                     1,121.06                   18,651.61
                                                         MINNESOTA, LLC 15
 09/23/20    1017      PACKERLAND WHEY                   18-32344 MERRICK'S OF                   7100-000                                     2,555.60                   16,096.01
                       PRODUCTS INC                      MINNESOTA, LLC 16



                                                                                             Page Subtotals:      $33,028.09           $16,932.08


{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                                  ! - transaction has not been cleared
                 Case 18-32344                 Doc 29        Filed 06/17/21 Entered 06/17/21 20:00:54                                    Desc            Page
                                                                         13 of 14
                                                                  Form 2                                                                                Exhibit 9
                                                                                                                                                        Page: 3
                                                  Cash Receipts And Disbursements Record
Case No.:              18-32344                                           Trustee Name:                     Paul W. Bucher (430140)
Case Name:             MERRICK'S OF MINNESOTA, LLC                        Bank Name:                        Metropolitan Commercial Bank
Taxpayer ID #:         **-***5512                                         Account #:                        ******7604 Checking Account
For Period Ending:     06/11/2021                                         Blanket Bond (per case limit):    $28,878,000.00
                                                                          Separate Bond (if applicable):    N/A

    1            2                     3                                          4                               5                      6                          7

  Trans.    Check or       Paid To / Received From            Description of Transaction        Uniform       Deposit              Disbursement           Account Balance
   Date      Ref. #                                                                            Tran. Code       $                        $

 09/23/20    1018      BIG OX ENERGY-RICEVILLE            18-32344 MERRICK'S OF                7100-000                                       280.83                    15,815.18
                       LLC                                MINNESOTA, LLC 17
                                                          Voided on 10/20/2020
 09/23/20    1019      Nova Consulting Group, Inc.        18-32344 MERRICK'S OF                7100-000                                        55.95                    15,759.23
                                                          MINNESOTA, LLC 18
 09/23/20    1020      LITHO PRINTING & GRAPHICS          18-32344 MERRICK'S OF                7100-000                                        27.95                    15,731.28
                                                          MINNESOTA, LLC 19
 09/23/20    1021      Qwest Corporation dba              18-32344 MERRICK'S OF                7100-000                                          9.45                   15,721.83
                       CenturyLink QC                     MINNESOTA, LLC 20
 09/23/20    1022      CREDIT BUREAU OF ALBERT            Combined dividend payments for                                                      137.84                    15,583.99
                       LEA                                Claim #21, 22
                       CREDIT BUREAU OF ALBERT            Claims Distribution - Wed, 07-29-    7100-000
                       LEA                                2020
                                                                                      $68.92
                       CREDIT BUREAU OF ALBERT            Claims Distribution - Wed, 07-29-    7100-000
                       LEA                                2020
                                                                                      $68.92
 09/23/20    1023      MINNESOTA ENERGY                   18-32344 MERRICK'S OF                7100-000                                       575.38                    15,008.61
                       RESOURCES                          MINNESOTA, LLC 23
 09/23/20    1024      DAIRY DIRECTIONS                   18-32344 MERRICK'S OF                7100-000                                      7,948.94                    7,059.67
                                                          MINNESOTA, LLC 24
 09/23/20    1025      MAPLEVIEW AGRI, LTD                18-32344 MERRICK'S OF                7100-000                                      1,114.96                    5,944.71
                                                          MINNESOTA, LLC 25
 09/23/20    1026      DLL FINANCIAL SOLUTIONS            18-32344 MERRICK'S OF                7100-000                                       215.82                     5,728.89
                                                          MINNESOTA, LLC 26U
 09/23/20    1027      TOFCO AG SERVICES, INC             18-32344 MERRICK'S OF                7100-000                                      4,237.85                    1,491.04
                                                          MINNESOTA, LLC 27
 09/23/20    1028      PALLETON PALLETS                   18-32344 MERRICK'S OF                7100-000                                        81.23                     1,409.81
                                                          MINNESOTA, LLC 28
 09/23/20    1029      Harcros Chemicals Inc              18-32344 MERRICK'S OF                7100-000                                       173.37                     1,236.44
                                                          MINNESOTA, LLC 29
 09/23/20    1030      J&A FREIGHT SYSTEMS INC            18-32344 MERRICK'S OF                7100-000                                      1,062.37                     174.07
                                                          MINNESOTA, LLC 30
 09/23/20    1031      TIMS SPOTTING SERVICE, INC.        18-32344 MERRICK'S OF                7100-000                                        65.89                      108.18
                                                          MINNESOTA, LLC 31
 09/23/20    1032      International Procurement          18-32344 MERRICK'S OF                7100-000                                       108.18                         0.00
                       Services, Inc.                     MINNESOTA, LLC 32
 10/20/20    1018      BIG OX ENERGY-RICEVILLE            18-32344 MERRICK'S OF                7100-000                                       -280.83                     280.83
                       LLC                                MINNESOTA, LLC 17
                                                          Voided: check issued on
                                                          09/23/2020
 10/20/20    1033      U.S. BANKRUPTCY COURT              Unclaimed Dividends - Claim 17       7100-001                                       280.83                         0.00
 05/12/21    1005      Ecolab Inc. Zoltan Varga           18-32344 MERRICK'S OF                7100-000                                       -157.89                     157.89
                                                          MINNESOTA, LLC 3
                                                          Stopped: check issued on
                                                          09/23/2020
 05/13/21    1034      U.S. BANKRUPTCY COURT              18-32344 MERRICK'S OF                7100-001                                       157.89                         0.00
                                                          MINNESOTA, LLC 3

                                           COLUMN TOTALS                                                          33,028.09               33,028.09                         $0.00
                                                   Less: Bank Transfers/CDs                                       33,028.09                      0.00
                                           Subtotal                                                                      0.00             33,028.09
                                                   Less: Payments to Debtors                                                                     0.00

                                           NET Receipts / Disbursements                                                 $0.00           $33,028.09




{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                  ! - transaction has not been cleared
                 Case 18-32344            Doc 29       Filed 06/17/21 Entered 06/17/21 20:00:54                         Desc    Page
                                                                   14 of 14
                                                      Form 2                                                                   Exhibit 9
                                                                                                                               Page: 4
                                      Cash Receipts And Disbursements Record
Case No.:          18-32344                                   Trustee Name:                   Paul W. Bucher (430140)
Case Name:         MERRICK'S OF MINNESOTA, LLC                Bank Name:                      Metropolitan Commercial Bank
Taxpayer ID #:     **-***5512                                 Account #:                      ******7604 Checking Account
For Period Ending: 06/11/2021                                 Blanket Bond (per case limit): $28,878,000.00
                                                              Separate Bond (if applicable): N/A




                                                                                                 NET                     ACCOUNT
                                TOTAL - ALL ACCOUNTS                       NET DEPOSITS     DISBURSEMENTS                BALANCES
                                ******3100 Checking                              $33,077.14           $49.05                     $0.00

                                ******7604 Checking Account                           $0.00               $33,028.09               $0.00

                                                                                $33,077.14               $33,077.14                $0.00




UST Form 101-7-TDR (10 /1/2010)
